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VIA CM/ECF & HAND DELIVERY

The Honorable Leonard P. Stark
U.S. District Court for the District of Delaware
844 North King Street, Room 6325, Unit 26
Wilmington, DE 19801-3555

Re:         Novartis Pharmaceuticals Corporation v. Accord Healthcare, Inc., et al.,
            C.A. No. 18-1043-LPS

Dear Chief Judge Stark:

        Pursuant to Paragraph 9 of the October 25, 2018 Case Scheduling Order (D.I. 216),
several defendants have elected not to enter into a stipulation precluding them from launching
their generic Gilenya products prior to the conclusion of this litigation. As a result, Novartis will
be seeking preliminary relief with regard to those defendants (collectively, the “Participating
Defendants”).

       Counsel for Plaintiff and the Participating Defendants met and conferred regarding the
schedule for presenting Plaintiff’s request for preliminary relief to the Court and have reached
agreement on the following points, subject to approval of the Court:1, 2

                      Case Event                                 Agreed Upon Dates
      Exchange Terms Requiring Construction                         Feb 1, 2019
            Joint Claim Construction Chart                          Feb 8, 2019
     Plaintiff Files PI Motion and Opening Brief                   Feb. 19, 2019
                       Parties File                                 Mar. 7, 2019
         Opening Claim Construction Briefs
                    Defendants File                                  April 9, 2019
             Combined PI Answering Brief



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  Plaintiff and the Participating Defendants note that the parties have agreed, subject to the
approval of the Court, to move certain claim construction-related deadlines, but have retained the
April 23, 2019 Markman hearing set by the Court.
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  Mylan joins the Participating Defendants’ proposal without prejudice to the Court’s decision on
Mylan’s pending motion to dismiss for improper venue in Novartis Pharm. Corp. v. Accord
Healthcare Inc. (C.A. 18-cv-01043-LPS) (D.I. 118-120). Mylan respectfully requests the
Court’s attention to Mylan’s venue challenge prior to preliminary injunction briefing.



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                   Case Event                                     Agreed Upon Dates
                    Parties File                                    April 16, 2019
       Answering Claim Construction Briefs
          Claim Construction Hearing                               April 23, 2019
          Plaintiff Files PI Reply Brief                            May 14, 2019
             Hearing on PI Motion                      June__, 2019 (week of June 17 preferred)


         Plaintiff and the Participating Defendants have further agreed, that given the number of
parties and issues, it would be appropriate to deviate from page limits imposed by the Local
Rules for the preliminary injunction briefing. Accordingly, subject to the approval of the Court,
Plaintiff and the Participating Defendants jointly propose (i) that Plaintiff file a single Opening
Brief of up to 30 pages in length (exclusive of declarations, exhibits, etc.) that will address the
invalidity positions set forth in Defendants’ invalidity contentions, including any secondary
indicia that Plaintiff will be raising, (ii) that the Participating Defendants file a single Answering
Brief of up to 30 pages in length (exclusive of declarations, exhibits, etc.), and (iii) that Plaintiff
file a single Reply Brief of up to 15 pages in length (exclusive of declarations, exhibits, etc.).

        A Proposed Order implementing these agreed upon points is enclosed herewith.

        The sole issue on which Plaintiff and the Participating Defendants disagree concerns the
length and format of the hearing to consider Plaintiff’s motion for preliminary relief. The parties
agreed to let the Court decide whether an evidentiary hearing is necessary. The parties’
respective positions on this issue are set forth below.

PLAINTIFF’S POSITION

        Novartis respectfully submits that the need for an evidentiary hearing to resolve contested
issues of fact is not yet clear. Such a hearing may not be needed or might be able to be
completed in less than the two days that defendants suggest. The 405 patent has already been the
subject of an extensive IPR trial proceeding in the USPTO, which found the patent to be valid
under standards far less favorable to patentability than those that apply in this Court. That case
involved many if not most of the same invalidity references that are mentioned in defendants’
invalidity contentions in this case. The extensive IPR record plus any supplemental declarations,
depositions, and documents submitted here may provide more than enough information for the
Court to make an informed decision about a preliminary injunction. We thus believe that the
need for an evidentiary hearing is unclear, but we defer to the Court on scheduling in view of the
Court’s overall docket.

PARTICIPATING DEFENDANTS’ POSITION

        Defendants respectfully request the Court provide the parties the opportunity to present
live testimony and any necessary attorney argument at the preliminary injunction hearing over
the course of twelve hours. Defendants expect that the majority of the briefing and hearing will
be dedicated to the issues of invalidity and irreparable harm. Allowing the parties to provide live
expert testimony on these issues will permit the Court a more fulsome record on which to decide
whether the various defendants should be allowed to bring to market a cost-effective generic

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alternative to Novartis’s Gilenya® as of the date they would be eligible for FDA approval. No
30-month stay is in place.

                                       *      *      *

      Counsel for Plaintiffs and the Participating Defendants are available at the Court’s
convenience should Your Honor wish to discuss these issues.

Respectfully submitted,

/s/ Daniel M. Silver

Daniel M. Silver (#4758)

cc: Counsel of Record (via electronic mail)




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